                                              Case 2:22-cv-06515-MWF-AGR Document 118 Filed 02/26/24 Page 1 of 11 Page ID #:4947




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                                                                                           7

                                                                                           8                        UNITED STATES DISTRICT COURT
                                                                                           9                      CENTRAL DISTRICT OF CALIFORNIA
                                                                                          10

                                                                                          11 HIDDEN EMPIRE HOLDINGS, LLC;                  Case No. 2:22-cv-06515-MWF-AGR
KRAMER, DEBOER & KEANE




                                                                                             a Delaware limited lability company;          Action Filed: September 12, 2022
                                                                                          12 HYPER ENGINE, LLC; a California
                         INCLUDING PROFESSIONAL CORPORATIONS
                         21860 BURBANK BOULEVARD, SUITE 370




                                                                                             limited liability company; DEON               Assigned to Honorable
                                                               WOODLAND HILLS, CA 91367
                             A LIMITED LIABILITY PARTNERSHIP




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                                                                                          13 TAYLOR, an individual,                        Judge Michael W. Fitzgerald
                                                                                          14                  Plaintiffs,                  DEFENDANTS’ MEMORANDUM
                                                                                                       v.                                  OF POINTS AND AUTHORITIES
                                                                                          15                                               IN OPPOSITION TO PLAINTIFFS’
                                                                                               DARRICK ANGELONE, an                        MOTION FOR ORDER TO SHOW
                                                                                          16 individual; AONE CREATIVE, LLC                CAUSE WHY SANCTIONS
                                                                                               formerly known as AONE                      SHOULD NOT BE IMPOSED
                                                                                          17 ENTERTAINMENT LLC, a Florida                  AGAINST DEFENDANTS
                                                                                               limited liability company; ON CHAIN
                                                                                          18 INNOVATIONS, LLC, a Florida                   DATE: March 18, 2024
                                                                                               limited liability company,                  TIME: 10:00am
                                                                                          19                                               DEPT: 5A
                                                                                                             Defendants.
                                                                                          20                                               [Filed Concurrently with Opposition to
                                                                                                                                           Request for Judicial Notice; Declaration
                                                                                          21                                               of Sandra Calin; and Declaration of
                                                                                                                                           Darrick Angelone]
                                                                                          22

                                                                                          23

                                                                                          24         TO THIS HONORABLE COURT AND TO EACH PARTY AND THEIR
                                                                                          25 ATTORNEYS OF RECORD:

                                                                                          26         COMES NOW, Defendants DARRICK ANGELONE, AONE CREATIVE,
                                                                                          27 LLC and ON CHAIN INNOVATIONS, LLC, by and through their attorneys of

                                                                                          28 record, and submit their Opposition to Plaintiffs’ Motion for Order to Show Cause Re

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                                                                                                                    OPPOSITION TO MOTION FOR OSC RE SANCTIONS
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                                                                                           1 Sanctions.

                                                                                           2        This Opposition will be based upon the attached Memorandum of Points and
                                                                                           3 Authorities, together with the records, papers, and files of the within matter and such

                                                                                           4 other evidence, both oral and documentary, as may be presented at the time of the

                                                                                           5 hearing of the Motion.

                                                                                           6

                                                                                           7 DATED: February 26, 2024                       KRAMER, DEBOER & KEANE
                                                                                           8

                                                                                           9

                                                                                          10                                         By:    ______________________________
                                                                                          11                                                JEFFREY S. KRAMER
KRAMER, DEBOER & KEANE




                                                                                                                                            SANDRA CALIN
                                                                                          12                                                Attorneys for Defendants
                         INCLUDING PROFESSIONAL CORPORATIONS
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                                                                                                                                            DARRICK ANGELONE, AONE
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                                                                                          13                                                CREATIVE, LLC, and ON CHAIN
                                                                                                                                            INNOVATIONS, LLC
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                                                                                                                   OPPOSITION TO MOTION FOR OSC RE SANCTIONS
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                                                                                           1               MEMORANDUM OF POINTS AND AUTHORITIES
                                                                                           2                                  I. INTRODUCTION
                                                                                           3        This case presents the unique situation in which the two sides, the Plaintiffs on
                                                                                           4 the one hand, and the Defendants on the other, have diametrically opposed versions

                                                                                           5 on the facts of the case. But rather than litigating the issues and allowing a trier of

                                                                                           6 fact to decide the case, Plaintiffs seek to circumvent that process, and are essentially

                                                                                           7 asking the Court to find in their favor, under the guise of this Motion which alleges

                                                                                           8 that Defendants violated a Preliminary Injunction ordered by the Court. Although

                                                                                           9 Plaintiffs attempt to convince the Court by their more than 450 pages of exhibits that

                                                                                          10 Plaintiffs’ position is correct, the Court should believe the Plaintiffs, and grant the

                                                                                          11 extreme terminating sanction requested, in fact the purported evidence submitted does
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                                                                                          12 not make Plaintiffs’ case. The Plaintiffs’ “evidence” asks the Court to draw certain
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                                                                                          13 inferences that are not supported, and raises many questions of authenticity,

                                                                                          14 assumptions and disputed facts that cannot be taken at face value.

                                                                                          15        Plaintiffs essentially are asking to circumvent the due process of properly
                                                                                          16 litigating this case, presenting evidence to a jury that allows for cross-examination of

                                                                                          17 witnesses, and seeks this Court to summarily find in Plaintiffs favor based on

                                                                                          18 supposed “evidence” that comes from the Internet, the World Wide Web, where

                                                                                          19 something found today is gone tomorrow and something completely different has

                                                                                          20 taken its place.

                                                                                          21        The inquiry with respect to all aspects of Plaintiffs’ Motion comes down to
                                                                                          22 whether Mr. Angelone committed the alleged acts detailed in the Motion, or are

                                                                                          23 Plaintiffs simply attempting to deprive Defendants of a full determination of the case

                                                                                          24 on its merits, without the ability to cross-examine witnesses and present expert

                                                                                          25 testimony regarding the complex, amorphous world of the Internet.

                                                                                          26                    II. PROCEDURAL STATUS OF THE CASE
                                                                                          27        Plaintiffs seek to convince the Court that Defendants violated the Preliminary
                                                                                          28 Injunction issued on September 30, 2022. That Preliminary Injunction enjoined the

                                                                                                                                         3
                                                                                                                    OPPOSITION TO MOTION FOR OSC RE SANCTIONS
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                                                                                           1 Defendants with respect to four categories of conduct regarding various social media

                                                                                           2 domains, social media accounts, email/workspace accounts and web accounts, to

                                                                                           3 transfer to Plaintiffs access, control, ownership and/or registration of the accounts and

                                                                                           4 to refrain from certain conduct with respect to a video game based on the movie

                                                                                           5 “Fear.” The latter does not seem to be an issue in the subject motion.

                                                                                           6        On October 13, 2022, Mr. Angelone filed a Declaration with this Court
                                                                                           7 demonstrating compliance with the Court’s Order for Preliminary Injunction. That

                                                                                           8 Declaration is attached as Exhibit “2” to the Declaration of Darrick Angelone, filed

                                                                                           9 concurrently herewith, in Opposition to the instant motion.

                                                                                          10        At Plaintiffs’ request, a Stipulation was recently filed with the Court, and
                                                                                          11 granted, to continue the trial in this case, from June 11, 2024 to December 10, 2024.
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                                                                                          12 As is documented in the Declaration of Sandra Calin, filed concurrently herewith,
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                                                                                          13 Defendants propounded discovery consisting of Interrogatories and Requests for

                                                                                          14 Admissions to Plaintiffs on December 19, 2023. Several extensions to respond were

                                                                                          15 granted to Plaintiffs, and the responses are now due on March 7, 2024. No depositions

                                                                                          16 have been taken in this case.

                                                                                          17        Plaintiffs have submitted their expert reports, and Defendants will be
                                                                                          18 submitting their expert’s rebuttal report. As is discussed in the Declaration of Sandra

                                                                                          19 Calin, a draft report is attached as Exhibit “1” which addresses the allegations in the

                                                                                          20 Declarations of Plaintiffs’ experts Erin Burke and Alex Izen. As is also explained in

                                                                                          21 the Declaration of Sandra Calin, this is a draft report and the final report will be filed

                                                                                          22 with the Court one day late, on February 27, 2024.

                                                                                          23        In order to determine the issues raised by the instant motion the parties will
                                                                                          24 require at least an evidentiary hearing that will allow for cross-examination of

                                                                                          25 witnesses, and which will allow for a full exploration of the issues raised.

                                                                                          26     III. ANGELONE DID NOT DELETE HEFG’S GOOGLE WORKSPACE
                                                                                          27                                        ACCOUNT
                                                                                          28        Plaintiffs’ Motion is replete with inferences and conjectures regarding the

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                                                                                                                    OPPOSITION TO MOTION FOR OSC RE SANCTIONS
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                                                                                           1 deletion of the Google Workspace Account, and based on the report of Rick Watts,

                                                                                           2 there is no dispositive evidence that the Google Workspace Account was deleted by

                                                                                           3 Mr. Angelone. It is Mr. Watts’ opinion that there is no factual basis for Ms. Burke’s

                                                                                           4 opinion that Mr. Angelone deleted the Google Workspace account. In fact, Mr. Watts

                                                                                           5 has presented evidence that Mr. Angelone did not have the requisite privileges to

                                                                                           6 delete the account. Again, Plaintiffs would have this Court find, based on Plaintiffs’

                                                                                           7 inconclusive evidence, that Defendants deleted the Google Workspace account.

                                                                                           8         The cases cited by Plaintiff in the Motion involve concrete facts that are easily
                                                                                           9 proven. Deletion of a recorded telephone conversation [Compass Bank v. Morris

                                                                                          10 Cerullo World Evangelism, 104 F.Supp.3d 1040 (S.D. Cal 2015)], which is a concrete

                                                                                          11 record, is vastly different from the alleged deletion of a Google Workspace account.
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                                                                                          12 Again, however, based on the Declaration of Darrick Angelone, and the report by
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                                                                                          13 Rick Watts, when the Google Workspace account was supposedly deleted, Mr.

                                                                                          14 Angelone was no longer an administrator of the account and accordingly could not

                                                                                          15 have deleted it.

                                                                                          16         The law regarding spoliation of evidence is not the issue here, but whether Mr.
                                                                                          17 Angelone was, in fact, the person who deleted the Workspace. Plaintiffs’ Motion

                                                                                          18 cites the Declaration of Mr. Angelone of October 13, 2022 for the proposition that he

                                                                                          19 “had administrator privileges for this account” (Dkt. 28-1, ¶ 10), however in looking

                                                                                          20 at Paragraph 10 of Mr. Angelone’s Declaration, there is nothing to suggest that on

                                                                                          21 October 10, 2022 he still had administrator privileges. In fact, Exhibit F to that

                                                                                          22 declaration contains an email from Mr. Angelone to Google Workspace Support dated

                                                                                          23 September       29,    2022     which     states:    “I    have    agreed     to    give
                                                                                          24 roxanne@hiddenempirefilmgroup.com administrator privileges… but I am unable to

                                                                                          25 because my administrator privileges have been revoked. Please advise how we can

                                                                                          26 facilitate this with upmost [sic] quickness. I have advised Roxanne as well. Thank
                                                                                          27 you.”

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                                                                                           1         Plaintiffs cannot show by a preponderance of the evidence that Mr. Angelone
                                                                                           2 deleted the Google Workspace account, and therefore he cannot be held accountable

                                                                                           3 to spoliation of evidence.

                                                                                           4     IV. ANGELONE DID NOT HAVE CONTROL OVER THE NINE HEFG
                                                                                           5                                        DOMAINS
                                                                                           6         Defendants are cognizant of this Court’s Minute Order of September 30, 2022,
                                                                                           7 in which the Court noted that based on the evidence submitted at that time, the Court

                                                                                           8 found the Plaintiffs’ version of the facts more credible. Defendants respectfully

                                                                                           9 request that the Court consider the objective evidence as presented by both Plaintiffs’

                                                                                          10 expert FTI, and Defendants’ expert Quandary Peak, and reconsider its view of the

                                                                                          11 evidence. Again, Mr. Watts’ report refutes the contentions of Ms. Burke that Mr.
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                                                                                          12 Angelone had access to the Icelandic domains, and the Declaration of Darrick
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                                                                                          13 Angelone also disputes that he has every used the name “Jacky Jasper.”

                                                                                          14           V. TRANSFER OF THE TWO SOCIAL MEDIA ACCOUNTS
                                                                                          15         Plaintiffs also contend that Defendant failed to transfer two social media
                                                                                          16 accounts, Twitter and Instagram. Again, the Declaration of Darrick Angelone filed

                                                                                          17 with the Court on October 13, 2022 clearly addresses this issue, as does the report of

                                                                                          18 Rick Watts.

                                                                                          19           VI. DEFENDANTS SHOULD NOT BE HELD IN CONTEMPT
                                                                                          20         Plaintiffs seek the very severe sanction of finding Defendants in contempt and
                                                                                          21 requesting essentially terminating sanctions. Defendants respectfully urge the Court

                                                                                          22 to deny the Motion and find that Defendants should not be held in contempt. The

                                                                                          23 cases cited by Plaintiffs in their Motion are all fact specific, and the Court in each case

                                                                                          24 found that based on the specific facts of each case whether there was civil contempt.

                                                                                          25 It is clear that in order to hold a party in civil contempt, the Court must find that the

                                                                                          26 party “(1) … violated the court order, (2) beyond substantial compliance, (3) not based
                                                                                          27 on a good faith and reasonable interpretation of the order, (4) by clear and convincing

                                                                                          28 evidence.” In re Dual-Deck Video Cassette Recorder Antitrust Litigation, 10 F.3d

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                                                                                           1 693, 695.      However, as the Court in that decision also stated, “[t]his set of rules is
                                                                                           2 easy to articulate but difficult to apply.         We must determine, under a restrained
                                                                                           3 standard of review, whether the district court could properly determine” the

                                                                                           4 aforementioned four factors. Id. In that case, the United States Court of Appeals for

                                                                                           5 the 9th Circuit determined that it could not do so, and reversed the contempt order.

                                                                                           6           In looking at the facts in the case at bar, Plaintiffs do not have “clear and
                                                                                           7 convincing evidence” that Mr. Angelone violated the Preliminary Injunction.

                                                                                           8 Although Plaintiffs make multiple claims of egregious conduct by Mr. Angelone,

                                                                                           9 none of them are substantiated by the evidence offered. Given the early stage of this

                                                                                          10 litigation, Defendants are entitled to a determination on the merits of the case, and a

                                                                                          11 finding in favor of Plaintiffs at this stage would violate Defendants’ due process
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                                                                                          12 rights.
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                                                                                          13           All of the cases cited in Plaintiffs’ Motion involve cases at much later stages of
                                                                                          14 litigation, after discovery, dispositive motions or trial. None of the cases found

                                                                                          15 contempt before any discovery had taken place. Defendants respectfully ask this

                                                                                          16 Court to provide Defendants the ability to receive responses to their written discovery

                                                                                          17 and take depositions of the parties to establish that Plaintiffs do not have any sound

                                                                                          18 grounds to prevail in this case.

                                                                                          19    VII. ANGELONE DID NOT DELETE HEFG’S GOOGLE WORKSPACE
                                                                                          20   AND THEREFORE DID NOT ENGAGE IN SPOLIATION OF EVIDENCE
                                                                                          21           The crux of the inquiry with respect to spoliation of evidence is again an
                                                                                          22 analysis of the evidence provided and a factual determination of whether Mr.

                                                                                          23 Angelone did, in fact, delete the Plaintiffs’ Google Workspace. As is documented in

                                                                                          24 the Declaration of Darrick Angelone, and also substantiated by the report of Rick

                                                                                          25 Watts, Mr. Angelone did not delete the Google Workspace account. On the date that

                                                                                          26 the Google Workspace account was allegedly deleted, October 10, 2022, Mr.
                                                                                          27 Angelone was no longer the administrator for the Workspace. He had made Roxanne

                                                                                          28 Taylor the administrator on October 6, 2022, and therefore he no longer had access to

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                                                                                                                      OPPOSITION TO MOTION FOR OSC RE SANCTIONS
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                                                                                           1 the Workspace. Although Plaintiffs’ Motion attempts to suggest otherwise, in fact

                                                                                           2 there is absolutely no evidence to show that Mr. Angelone deleted the account. Using

                                                                                           3 Plaintiffs’ logic, it could just as easily be argued that Ms. Roxanne Taylor deleted it.

                                                                                           4       VIII. THE SANCTIONS REQUESTED ARE NOT APPROPRIATE OR
                                                                                           5                                     WARRANTED
                                                                                           6         The cases cited by Plaintiffs to support their request for terminating sanctions
                                                                                           7 are, again, fact specific, and none of the cases in which terminating sanctions were

                                                                                           8 approved remotely resembles the facts in the case at bar. McComb v. Jacksonville

                                                                                           9 Paper Co., 336 U.S. 187 (1949) involved failure to comply with minimum wage laws;

                                                                                          10 In Chambers v. NASCO, Inc., 501 U.S. 32 (1991) the Court approved sanctions

                                                                                          11 consisting of assessing attorney fees for bad-faith conduct; Nostalgia Networks, Inc.
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                                                                                          12 v. Rayle, 56 Fed.Appx. 344 (9th Cir. 2003) is an unpublished case that imposed a
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                                                                                          13 default judgment for repeated and willful failures to attend a deposition and other

                                                                                          14 discovery abuses; Anheuser-Busch, Inc. v. Natural Beverage Distributors, 69 F.3d

                                                                                          15 337 (9th Cir. 1995) was an appeal of a partial grant of summary judgment.

                                                                                          16         In The Sunrider Corp. v. Bountiful Biotech Corp., 2010 WL 4590766 at *27
                                                                                          17 (C.D. Cal. Oct. 8, 2010), the Court discussed at length the imposition of terminating

                                                                                          18 sanctions and stated: “In determining whether to impose a case-dispositive sanction

                                                                                          19 for failure to comply with discovery orders, a district court should consider the

                                                                                          20 following five factors: (1) the public’s interest in expeditious resolution of litigation;

                                                                                          21 (2) the court’s need to manage its docket; (3) the risk of prejudice to the party seeking

                                                                                          22 sanctions; (4) the public policy favoring disposition of cases on their merits; and (5)

                                                                                          23 the availability of less drastic sanctions.” [Citations omitted.] The Court further stated

                                                                                          24 at *32: “Any sanction imposed under Rule 37(b) or the court’s inherent power must

                                                                                          25 be ‘just’ and, in order to comport with due process principles, must specifically relate

                                                                                          26 to the particular claim or defense that was at issue in the order to provide discovery.”
                                                                                          27 This case involved, again, violations of discovery and allegations of perjury.

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                                                                                           1        Of significance in all of the cases cited by Plaintiffs, is that they arose well into
                                                                                           2 the litigation, either regarding the conduct of discovery or after discovery was

                                                                                           3 completed. In the case at bar, Plaintiffs seek to terminate the action before any real

                                                                                           4 discovery has taken place. Defendants have served written discovery on Plaintiffs,

                                                                                           5 have granted several extensions for responses to the discovery, but have not yet

                                                                                           6 received responses. There have been no depositions taken in the case. The issues

                                                                                           7 raised by the instant motion go to the heart of allegations raised by both Plaintiffs and

                                                                                           8 Defendants/Third Party Plaintiffs: who did what to whom. This requires the conduct

                                                                                           9 of discovery, depositions and presentation of evidence.               Simply relying on
                                                                                          10 Declarations that are filled with inuendo, unsubstantiated inferences and assumptions

                                                                                          11 falls far short of the requirement to dispose of cases on their merits.
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                                                                                          12        In RG Abrams Insurance v. Law Offices of C.R. Abrams, 342 F.R.D. 461 (C.D.
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                                                                                          13 Cal Nov. 2, 2022) the Court considered at length the issues of imposition of sanctions

                                                                                          14 and particularly terminating sanctions. Although the Court found that the Defendants

                                                                                          15 engaged in misconduct, the Court declined to impose the drastic sanction of

                                                                                          16 terminating the case. As the Court stated at *512, “a dismissal or default judgment is

                                                                                          17 a ‘drastic’ sanction that only may be invoked if the party’s noncompliance is due to

                                                                                          18 ‘willfulness, fault, or bad faith.’ [Citations.]” Defendants respectfully urge the Court

                                                                                          19 that no such conduct can be attributed to Defendants, and after discovery has taken

                                                                                          20 place, depositions taken and the issues fully litigated, it will be shown that Defendants

                                                                                          21 did not act with “willfulness, fault, or bad faith.” However to decide that now, based

                                                                                          22 solely on the unsubstantiated “evidence” presented, would be patently unjust to

                                                                                          23 Defendants.

                                                                                          24        Similarly, with respect to the imposition of fines, while cases do award
                                                                                          25 monetary sanctions in appropriate cases, this is also a case-specific inquiry. For

                                                                                          26 example, in Citronelle-Mobile Gathering, Inc. v. Watkins, 943 F.2d 1297 (11th Cir.
                                                                                          27 1991) the Court found that the defendants were in contempt of court for various

                                                                                          28 actions, including unreasonably interfering with a Receiver’s attempts to enforce an

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                                                                                           1 order, wrongfully converting money and other funds and wrongfully converting

                                                                                           2 proceeds from an aircraft sale. These are all concrete, easily established facts that can

                                                                                           3 be proven with concrete evidence. The allegations as to Defendants herein are vastly

                                                                                           4 different and hinge on alleged actions involving the Internet, which are not easily

                                                                                           5 established and require thorough investigation.

                                                                                           6        The compensatory fines requested by Plaintiffs herein are for their attorneys’
                                                                                           7 fees in the action to date. No other evidence is presented regarding the amounts

                                                                                           8 sought as compensatory damages. Unless the Plaintiffs prevail, they are not entitled

                                                                                           9 to attorneys’ fees. Again, Plaintiffs are attempting to circumvent due process, without

                                                                                          10 a hearing on the merits and without the opportunity to cross-examine witnesses, and

                                                                                          11 ask the Court to award them attorneys’ fees of over $600,000.             This, without
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                                                                                          12 additional evidence, is clearly unjust.
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                                                                                          13                                   IX. CONCLUSION
                                                                                          14        Based on the foregoing, and the Declarations filed concurrently herewith,
                                                                                          15 Defendant respectfully request that the Court deny the Motion for an Order to Show

                                                                                          16 Cause Why Sanctions Should Not be Imposed Against Defendants. Plaintiffs have

                                                                                          17 not shown by a preponderance of the evidence that Defendants have violated the

                                                                                          18 Preliminary Injunction or that Defendants have engaged in Spoliation of Evidence.

                                                                                          19

                                                                                          20 DATED: February 26, 2024                         KRAMER, DEBOER & KEANE
                                                                                          21

                                                                                          22

                                                                                          23                                           By:    ______________________________
                                                                                          24                                                  JEFFREY S. KRAMER
                                                                                                                                              SANDRA CALIN
                                                                                          25                                                  Attorneys for Defendants
                                                                                                                                              DARRICK ANGELONE, AONE
                                                                                          26                                                  CREATIVE, LLC, and ON CHAIN
                                                                                                                                              INNOVATIONS, LLC
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                                                                                                                    OPPOSITION TO MOTION FOR OSC RE SANCTIONS
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                                                                                           1                              CERTIFICATE OF SERVICE
                                                                                           2       I am employed in Los Angeles County, California. I am over the age of 18
                                                                                           3 and not a party to this action; my business address is 21860 Burbank Blvd., Suite
                                                                                             370, Woodland Hills, CA 91367. My email address is ynelson@kdeklaw.com.
                                                                                           4

                                                                                           5        I certify that on February 26, 2024, I served: DEFENDANTS’
                                                                                             MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO
                                                                                           6 PLAINTIFFS’ MOTION FOR ORDER TO SHOW CAUSE WHY
                                                                                             SANCTIONS SHOULD NOT BE IMPOSED AGAINST DEFENDANTS
                                                                                           7 on the following parties or counsel of record as follows:

                                                                                           8
                                                                                               LAWRENCE HINKLE (SBN 180551)                            Counsel for Plaintiffs
                                                                                           9   STEPHANIE JONES NOJIMA (SBN 178453)
                                                                                               JOSHUA ROY ENGEL
                                                                                          10   SANDERS ROBERTS LLP
                                                                                          11   1055 West 7th Street, Suite 3200
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                                                                                               Los Angeles, CA 90017
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                                                                                                    By ECF/CM: I electronically filed an accurate copy using the Court’s
                                                                                          21 Electronic Court Filing (“ECF”) System and service was completed by electronic

                                                                                          22 means by transmittal of a Notice of Electronic Filing on the registered participants of
                                                                                               the ECF System.
                                                                                          23

                                                                                          24       I declare under penalty of perjury under the laws of the Unites States of
                                                                                             America and the State of California that the foregoing is true and correct. Executed
                                                                                          25 at Santa Clarita, California on February 26, 2024.

                                                                                          26
                                                                                                                                        /s/ Yolanda Nelson
                                                                                          27                                            Yolanda Nelson
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                                                                                                                     OPPOSITION TO MOTION FOR OSC RE SANCTIONS
